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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




LIYANARA SANCHEZ, as next
friend on behalf of FRENGEL
REYES MOTA, et al.,


                                                     Civil Action No. 1:25-cv-00766-JEB
Petitioner,
v.                                                   REDACTED Declaration Of Michael G. Kozak
DONALD J. TRUMP, in his official
capacity as President of the United
States, et al.,




Respondents.


                        DECLARATION OF MICHAEL G. KOZAK


I, Michael G. Kozak, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

       1.      I am the Senior Bureau Official within the Bureau of Western Hemisphere Affairs

(WHA) of the United States Department of State, a position I have held on different occasions

previously and since January 2025. In that capacity, I lead and oversee WHA, including the country

offices handling affairs regarding Central and South America and other countries in the

Hemisphere. I am a career member of the Senior Executive Service and have served in a variety

of senior positions in the Department of State. WHA is responsible for diplomatic relations

between the United States and countries in the Western Hemisphere, including El Salvador and
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Venezuela. I make the following statements based upon my personal knowledge, including from

my experience since 1971 engaging in diplomatic and other work of the State Department with

respect to El Salvador, Venezuela, and other countries in the region and around the world, as well

as upon information made available to me in the performance of my official duties.

       2.      Attached are several exhibits that are true and accurate:
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       9.      It was and remains my understanding that the detention and ultimate disposition of

those detained in CECOT and other Salvadoran detention facilities are matters within the legal

authority of El Salvador in accordance with its domestic and international legal obligations. Some

recent events may inform this point. On April 20, Salvadoran President Bukele made a public

proposal to Nicolas Maduro of Venezuela for a “humanitarian agreement that contemplates the

repatriation of 100%” of the TdA members transferred from the United States to El Salvador “in

exchange for the release and surrender of an identical number (252) of the thousands of political

prisoners you hold.” https://x.com/nayibbukele/status/1914070199659098258. On April 22,

President Bukele lamented Maduro’s apparent rejection of his proposal and reiterated the proposal,

posting a formal version from the Salvadoran Ministry of Foreign Relations addressed to the

Maduro regime. https://x.com/nayibbukele/status/1914802146325004726.

       10.     Several Members of Congress have in recent weeks requested to visit CECOT or

to visit specific detainees housed there, including Kilmar Abrego Garcia, a Salvadoran national
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transferred to El Salvador at the same time as the TdA members. While the U.S. Embassy has

facilitated these U.S. congressional trips to El Salvador per routine practice, the Salvadoran

government has decided, without seeking U.S. concurrence, to accommodate some of the

delegations’ requests to visit CECOT and to deny others. Moreover, El Salvador transferred Mr.

Abrego Garcia out of CECOT and to a different facility several weeks ago. The United States

found out about this transfer only when Mr. Abrego Garcia told Senator Van Hollen, in a meeting

arranged by the Government of El Salvador, that he had been transferred.

       11.      Statements by high-ranking officials of both the United States and El Salvador

regarding the                                    reflect the fact that the two nations have shared

common interests and that each country respects and takes into account the opinions and arguments

of the other. El Salvador makes its own determinations regarding whether to accept or decline

requests from the United States, just as the United States makes its own determinations regarding

the requests of El Salvador.




I declare under penalty of perjury that the foregoing is true and correct.


Executed this 9th day of May 2025.


                                              ____________________________

                                              Michael G. Kozak
                                              Senior Bureau Official
                                              Western Hemisphere Affairs
                                              U.S. Department of State
